                                 Case 18-24659-AJC                       Doc 1         Filed 11/26/18             Page 1 of 3
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Southern                   District of   Florida
                                          (State)
 Case number (If known):                                      Chapter 15                                                                            Check if this is an
                                                                                                                                                    amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                  12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name                             North Pointe Holdings Ltd. - In Liquidation


2.   Debtor’s unique identifier                For non-individual debtors:

                                                          Federal Employer Identification Number (EIN)                 –

                                                          Other   1904975                           . Describe identifier   Company No.                         .

                                               For individual debtors:

                                                          Social Security number:    xxx - xx–

                                                          Individual Taxpayer Identification number (ITIN): 9 xx - xx -

                                                          Other                                     . Describe identifier                                        .


3.   Name of foreign
     representative(s)                         Stephen Briscoe and Michael Pearson - Joint Official Liquidators

4.   Foreign proceeding in which
     appointment of the foreign                Section 178(1)(d) of the Insolvency Act, 2003
     representative(s) occurred

5.   Nature of the foreign
                                               Check one:
     proceeding
                                                    Foreign main proceeding
                                                    Foreign nonmain proceeding
                                                    Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign                        A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                     appointing the foreign representative is attached.

                                                    A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                    proceeding and of the appointment of the foreign representative, is attached.

                                                    Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                    representative is described below, and relevant documentation, translated into English, is attached.
                                                    Verified Petition Under Chapter 15 for Recognition of Foreign Proceeding
                                                    and supporting Declaration filed in support thereof.

7.   Is this the only foreign                       No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                     debtor is pending.)
     the debtor known to the
                                                    Yes
     foreign representative(s)?

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Debtor          North Pointe Holdings Ltd. - In Liquidation                                     Case number (if known)
                Name



8.    Others entitled to notice        Attach a list containing the names and addresses of:
                                       (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                       (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                              petition, and
                                       (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                        Country where the debtor has the center of its                   Debtor’s registered office:
                                       main interests:
                                                                                                        2nd Floor TICO Building
                                       British Virgin Islands                                           Wickhams Cay II
                                                                                                        Number           Street

                                                                                                        P.O. Box 4441
                                                                                                        P.O. Box

                                                                                                        Road Town, Tortola, VG 1110
                                                                                                        City               State/Province/Region     ZIP/Postal Code


                                                                                                        British Virgin Islands
                                                                                                        Country




                                      Individual debtor’s habitual residence:                            Address of foreign representative(s):

                                                                                                         2nd Floor TICO Building
                                                                                                         Wickhams Cay II
                                      Number         Street                                              Number           Street

                                                                                                         P.O. Box 4441
                                      P.O. Box                                                           P.O. Box

                                                                                                         Road Town, Tortola, VG 1110
                                      City             State/Province/Region ZIP/Postal Code             City               State/Province/Region     ZIP/Postal Code


                                                                                                         Cayman Islands
                                      Country                                                            Country




10.   Debtor’s website (URL)



11.   Type of debtor                   Check one:

                                              Non-individual (check one):

                                                     Corporation. Attach a corporate ownership statement containing the information
                                                     described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify:

                                              Individual




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              North Pointe Holdings Ltd. - In Liquidation
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this           Check one:
      district?                              ✘    Debtor’s principal place of business or principal assets in the United States are in this district.
                                                  Debtor does not have a place of business or assets in the United States, but the following
                                                  action or proceeding in a federal or state court is pending against the debtor in this district:
                                                  ___________________________________________________________________________.

                                                  If neither box is checked, venue is consistent with the interests of justice and the convenience
                                                  of the parties, having regard to the relief sought by the foreign representative, because:
                                                  ___________________________________________________________________________.



13.   Signature of foreign
      representative(s)                     I request relief in accordance with chapter 15 of title 11, United States Code.

                                            I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                            relief sought in this petition, and I am authorized to file this petition.

                                            I have examined the information in this petition and have a reasonable belief that the
                                            information is true and correct.

                                            I declare under penalty of perjury that the foregoing is true and correct,


                                                 ________________________________________________
                                                                                                             Stephen Bricoe
                                                                                                           _______________________________________________
                                                 Signature of foreign representative                       Printed name


                                            Executed on        11/23/2018
                                                              __________________
                                                               MM / DD / YYYY



                                                 ________________________________________________           Michael Pearson
                                                                                                           _______________________________________________
                                                 Signature of foreign representative                       Printed name


                                            Executed on       11/23/2018
                                                              __________________
                                                               MM / DD / YYYY




14.   Signature of attorney                       /s/ Eduardo F. Rodriguez                                             11/26/2018
                                                 _________________________________________________ Date               _________________
                                                 Signature of Attorney for foreign representative                     MM     / DD / YYYY

                                                  Eduardo F. Rodriguez
                                                 _________________________________________________________________________________________________
                                                 Printed name
                                                  EFR Law Firm
                                                 _________________________________________________________________________________________________
                                                 Firm name
                                                  1548          Brickell Avenue
                                                 _________________________________________________________________________________________________
                                                 Number     Street
                                                  Miami
                                                 ____________________________________________________
                                                                                                                FL               33129
                                                                                                                __________________________________________
                                                 City                                                           State        ZIP Code

                                                 (305) 340-0034                                                  eddie@efrlawfirm.com
                                                 ____________________________________                           __________________________________________
                                                 Contact phone                                                  Email address


                                                 36423                                                           FL
                                                 ______________________________________________________ ____________
                                                 Bar number                                             State




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